       Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 1 of 7




                              IN THE UNITED STATES DISTRICT COURT
                                FOR MIDDLE DISTRICT OF ALABAMA
                                       NORTHERN DIVISION

UNITED STATES OF AMERICA,                               )
                                                        )
         Plaintiff,                                     )
                                                        )
                  v.                                    )        CIVIL ACTION NO. 2:16-cv-985-ECM
                                                        )
$389,820.00 IN UNITED STATES                            )
CURRENCY, et al.,                                       )
                                                        )
         Defendants.                                    )

                                NOTICE OF DISPOSITION OF ASSETS

          Plaintiff, the United States of America (hereinafter, United States), by and through Louis

V. Franklin, Sr., United States Attorney for the Middle District of Alabama, and Verne H. Speirs,

Assistant United States Attorney, submits this Notice of Disposition of Assets in response to

Claimant Ruby Barton’s (hereinafter, Barton) motion to reconsider this Court’s order dismissing

the case without prejudice as a result of the 11th Circuit's decision that it did not have jurisdiction

over the Defendant property at the time this action began1. Because Barton never filed a motion to

stay the disposition of the Defendant property pending her appeal, the Government, in compliance

with DOJ policy, has appropriately disposed of the Defendants. The following is a timeline of

events leading to the disposition of the Defendants as well as their current status:


1
  In sum, Barton appealed the district court’s order denying her motion to dismiss for lack of jurisdiction in this
forfeiture action arguing the district court lacked in rem jurisdiction over the Defendant property at the time
Complaint was filed. Barton argued that the Elmore County, Alabama district court acquired in rem jurisdiction
over the Defendants first when they were seized using process issued by that court. Additionally, Barton argued that
the state court “transfer order” which occurred after the filing of this case, and after federal agents were in
possession of the Defendants, did not give the district court jurisdiction over the Defendants because that action was
filed when the district court lacked authority to hear the matter. Further, Barton asserts the instant case is a void
action as it was filed in a court lacking in rem jurisdiction. The 11th Circuit reversed the district court’s decision
denying Barton’s motion to dismiss for lack of jurisdiction stating “the district court lacked jurisdiction when it first
proceeded against the defendant property in December 2016.” However, it recognized that its decision did not
necessarily end the Government’s forfeiture action stating, “Given the state court’s turn-over order, the district court
may be able to exercise jurisdiction over the defendant property” thereby rejecting Barton’s assertion that the instant
case was void.
      Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 2 of 7




          1.   On December 20, 2016, the United States filed its Verified Complaint for Forfeiture

in Rem alleging Defendants $389,820.00, $15,780.00, $4,550.00, a 1972 Chevrolet Chevelle,

SS396, and miscellaneous jewelry were subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6), for

violations of 21 U.S.C. §§ 841(a)(1) (drug distribution) and 846 (conspiracy to commit a violation

of the Controlled Substances Act). (Doc. 1)

          2.   On February 15, 2017, Barton filed a Verified Claim of the Estate of Rodriguez

Garth (hereinafter, Estate) in her capacity as personal representative and executor of the Estate,

alleging the Estate to be the lawful owner of the Defendants. (Doc. 12)

          3.   On March 3, 2017, the Alabama Court of Civil Appeals clarified state forfeiture

laws explaining that when property is seized pursuant to a state court-issued warrant, the state

court acquires constructive possession of the seized property upon the moment of seizure, and in

rem jurisdiction. See Little v. Gaston, 232 So.3d 231 (Ala.Civ.App.2017).

          4.   On March 22, 2017, Barton filed her First Motion to Dismiss for Lack of

Jurisdiction or In Rem Jurisdiction alleging the Defendants were under the in rem jurisdiction of

the Elmore County District Court and Elmore County Circuit Court based, in part, on the March

3, 2017 decision entered by the Alabama Court of Civil Appeals in Little v. Gaston. (Doc. 14)

          5.   On May 2, 2017, Assistant District Attorney Kristy Peoples for the 19th Judicial

Circuit filed a Motion for Turnover Order in the Elmore County Circuit Court requesting that court

enter an order to turn over the Defendant property for purposes of this federal forfeiture

proceeding, thereby relinquishing any jurisdiction that court might have over the property. (Doc.

# 26-1)

          6.   On May, 3, 2017, Elmore County Circuit Court Judge Sibley G. Reynolds granted

the Elmore County District Attorney’s Motion for Turnover Order and entered an Order to
      Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 3 of 7




Turnover Property pursuant to the authority in Little v. Gaston, thereby transferring in rem

jurisdiction over the Defendants from state court to federal court. (Doc. 26-2) On that same day,

the Government filed its Third Supplemental Response to Motion to Dismiss for Lack of Subject

Matter Jurisdiction Over the Defendants In Rem alerting the Court of the entry of the turnover

order and the Government’s compliance with newly clarified state forfeiture laws. (Doc. 26)

       7.      On June 28, 2017, United States District Court Judge W. Harold Albritton entered

an order denying the Claimant’s Motion to Dismiss for Lack of Subject Matter Jurisdiction. (Doc.

37)

       8.      On April 15, 2019 and April 17, 2019, the United States filed Motions for the

Interlocutory Sale of Defendants Miscellaneous Jewelry and 1972 Chevrolet Chevelle,

respectively, in order to preserve the value of the Defendants for the benefit of the United States

and the Claimant. (Docs. 76, 78) No objection was filed by Barton.

       9.      On June 12, 2019, the United States filed its Motion for Summary Judgment and

brief in support thereof. (Docs. 90-91)

       10.     On June 6, 2019, Barton filed her Motion for Summary Judgment and Brief in

Support. (Doc. 95) On October 4, 2019, this Court entered a Memorandum Opinion and Order

granting the Government’s motion for summary judgment, denying the Claimant’s motion for

summary judgment, and forfeiting Defendants to the United States. (Doc. 103) On that same day,

the United States filed its Motion for Decree of Forfeiture. (Doc. 105)

       11.     On October 15, 2019, this Court entered a Decree of Forfeiture stating “the

Defendants are hereby forfeited to the United States, to be disposed of according to law, and no

right, title or interest in the Defendants shall exist in any other party.” (Doc. 106)
       Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 4 of 7




         12.      Title 28, United States Code, Section 1355(c) states “in any case in which a final

order disposing of property in a civil forfeiture action or proceeding is appealed, removal of the

property by the prevailing party shall not deprive the court of jurisdiction. Upon motion of the

appealing party, the district court or the court of appeals shall issue any order necessary to preserve

the right of the appealing party to the full value of the property at issue, including a stay of the

judgment of the district court pending appeal or requiring the prevailing party to post an appeal

bond.” ([Emphasis added]). At no time following the entry of this Court’s order granting the

Government’s motion for summary judgment, which forfeited the property to the United States,

has the claimant requested to stay any order directing the forfeiture of the Defendants or to delay

the disposal of the assets2.

         13.      Based upon information and belief, the United States understands that counsel for

Barton wishes to inspect the original assets despite previous notice of the government’s intent to

dispose of the defendant property, including the United States’ Motion for Interlocutory Sale of

Defendant Miscellaneous Jewelry filed April 15, 2019 (Doc. 76), and the United States’ Motion

for Interlocutory Sale of Defendant 1972 Chevrolet Chevelle filed April 17, 2019. (Doc. 78)

Counsel for Claimant did not file any document in opposition of these motions, and they were

denied as moot upon this Court’s entry of its Memorandum Opinion and Order granting the

Government’s motion for summary judgment, which forfeited the property3. (Doc. 103)



2
  Beyond failing to move under 28 U.S.C. § 1355(c), Barton did not seek any companion relief under Rule 32.2(d) of
the Federal Rules of Criminal Procedure. Pursuant to Rule 32.2(d), “if a defendant appeals from a conviction or an
order of forfeiture, the court may stay the order of forfeiture on terms appropriate to ensure that the property remains
available pending appellate review.” In short, Barton failed to pursue any avenue available to her to preserve the
assets, stay the order of forfeiture, or delay the disposal of the assets under 28 U.S.C. § 1355(c), or the criminal
companion rule under Rule 32.2(d) of the Federal Rules of Criminal Procedure.
3
  While Barton failed to request relief under 28 U.S.C. § 1355(c) and/or Rule 32.2(d) to preserve the value of
Defendants 1972 Chevrolet Chevelle and Miscellaneous Jewelry, the Government moved forward with the sale of
said Defendants upon entry of the order granting its motion for summary judgment to preserve their value. As such,
no party has been deprived of the full value of the property.
      Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 5 of 7




       14.        Per Department of Justice (Department) policy, in scenarios where the Government

seizes funds or liquidates a seized asset prior to forfeiture, the proceeds are deposited into the

Seized Asset Deposit Fund (SADF). The SADF is a holding account established administratively

by the Department to receive seized cash, proceeds from the sale of seized property, and receipts

from income producing assets seized for forfeiture pursuant to any law enforced or administered

by the Department. After entry of an order of forfeiture, funds are transferred from the SADF to

the Assets Forfeiture Fund (AFF).

       15.         In the instant case, Defendants $389,820.00 in U.S. Currency, $15,780.00 in U.S.

Currency, and $4.550.00 in U.S. Currency were deposited into the SADF immediately upon

seizure, and transferred to the AFF after the entry of the Decree of Forfeiture. Funds from the sale

of Defendant 1972 Chevrolet Chevelle were deposited into the AFF on October 28, 2019,

following the sale of the vehicle. Funds from the sale of Defendant Miscellaneous Jewelry remain

in the SADF as the sale took place after the Claimant’s Notice of Appeal. The details of deposits

are as follows:

                  a.     Defendant $389,820.00 – Funds Deposited into the AFF on October 17,

                         2019 (Doc. 109);

                  b.     Defendant $4,550.00 – Funds deposited into the AFF on October 17, 2019

                         (Doc. 110);

                  c.     Defendant $15,780.00 – Funds deposited into the AFF on October 17, 2019

                         (Doc. 111);

                  d.     Defendant 1972 Chevrolet Chevelle – Sold via online auction on October

                         8, 2019 for $23,525.00. Funds deposited into the AFF (Doc. 112);
      Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 6 of 7




               e.     Defendant Miscellaneous Jewelry – Sold on February 12, 2020 and June 3,

                      2020 for a total of $49,022.00. Because the government was made aware

                      of the Claimant’s appeal by the filing of a Notice of Appeal on November

                      7, 2019, which was prior to the sale of the jewelry, the proceeds from those

                      sales remain in the SADF.

       16.     On December 10, 2020, more than a year after this Court’s initial order of forfeiture,

Barton filed a Motion to Reconsider Order and Final Judgment requesting the return of the property

to the ECSO. (Doc. 133) As of today’s date, said motion is pending before this Honorable Court.

       Respectfully submitted this 3rd day of February, 2021.

                                                      LOUIS V. FRANKLIN, SR.
                                                      UNITED STATES ATTORNEY


                                                      /s/Verne H. Speirs
                                                      VERNE H. SPEIRS
                                                      Assistant United States Attorney
                                                      131 Clayton Street
                                                      Montgomery, Alabama 36104
                                                      Telephone: (334) 223-7280
                                                      Facsimile: (334) 223-7106
                                                      E-mail: Verne.Speirs@usdoj.gov
      Case 2:16-cv-00985-ECM-WC Document 138 Filed 02/03/21 Page 7 of 7




                           IN THE UNITED STATES DISTRICT COURT
                             FOR MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
          Plaintiff,                             )
                                                 )
                  v.                             )      CIVIL ACTION NO. 2:16-cv-985-ECM
                                                 )
$389,820.00 IN UNITED STATES                     )
CURRENCY, et al.,                                )
                                                 )
Defendants.                                      )

                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 3, 2021, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system which will send notification of such filing to all counsel of

record.


                                                        Respectfully submitted,

                                                        /s/Verne H. Speirs
                                                        VERNE H. SPEIRS
                                                        Assistant United States Attorney
